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COX FRICKE
A LIMITED LIABILITY LAW PARTNERSHIP LLP

JOACHIM P. COX                    7520-0
   jcox@cfhawaii.com
RANDALL C. WHATTOFF               9487-0
   rwhattoff@cfhawaii.com
KAMALA S. HAAKE                   9515-0
   khaake@cfhawaii.com
CHRISTINE A. TERADA              10004-0
   cterada@cfhawaii.com
800 Bethel Street, Suite 600
Honolulu, Hawai‘i 96813
Telephone: (808) 585-9440
Facsimile: (808) 275-3276

GOODSILL ANDERSON QUINN & STIFEL
A LIMITED LIABILITY LAW PARTNERSHIP LLP

LISA WOODS MUNGER                 3858-0
   lmunger@goodsill.com
First Hawaiian Center, Suite 1600
999 Bishop Street
Honolulu, Hawai‘i 96813
Telephone: (808) 547-5600
Facsimile: (808) 547-5880

Attorneys for Defendants
OHANA MILITARY COMMUNITIES, LLC and
FOREST CITY RESIDENTIAL MANAGEMENT, LLC

                 IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAI‘I

 Plaintiffs Kenneth Lake, Crystal Lake,    CIVIL NO. 16-00555-LEK-KJM
 Harold Bean, Melinda Bean, Kyle
 Pahona, Estel Pahona, Timothy             STIPULATION FOR (1) DISMISSAL
 Moseley, and Ashley Moseley,              WITH PREJUDICE OF ALL OF
                   Plaintiffs,             PLAINTIFFS HAROLD BEAN AND
                                           MELINDA BEAN’S CLAIMS IN
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                                            THE FIRST AMENDED
       vs.                                  COMPLAINT; AND (2) DISMISSAL
                                            WITH PREJUDICE OF PLAINTIFFS
 Ohana Military Communities, LLC,
                                            KENNETH LAKE, CRYSTAL LAKE,
 Forest City Residential Management,
                                            KYLE PAHONA, RYAN WILSON,
 Inc.; and DOE Defendants 1-10,
                                            AND HEATHER WILSON’S
                   Defendants.              ELEVENTH CLAIM FOR RELIEF
                                            (NUISANCE), TO THE EXTENT
                                            THE CLAIM IS BASED UPON
                                            CONSTRUCTION DUST
                                            GENERALLY

                                            TRIAL: October 21, 2019
                                            JUDGE: Hon. Leslie E. Kobayashi




   STIPULATION FOR (1) DISMISSAL WITH PREJUDICE OF ALL OF
 PLAINTIFFS HAROLD BEAN AND MELINDA BEAN’S CLAIMS IN THE
      FIRST AMENDED COMPLAINT; AND (2) DISMISSAL WITH
    PREJUDICE OF PLAINTIFFS KENNETH LAKE, CRYSTAL LAKE,
      KYLE PAHONA, RYAN WILSON, AND HEATHER WILSON’S
 ELEVENTH CLAIM FOR RELIEF (NUISANCE), TO THE EXTENT THE
     CLAIM IS BASED UPON CONSTRUCTION DUST GENERALLY

             IT IS HEREBY STIPULATED by and between Plaintiffs Kenneth

Lake, Crystal Lake, Harold Bean, Melinda Bean, Kyle Pahona, Timothy Moseley,

and Ashley Moseley (collectively, “Plaintiffs”) and Defendants Ohana Military

Communities, LLC and Forest City Residential Management, LLC, successor by

conversion to Forest City Residential Management, Inc. (collectively

“Defendants”), by and through their undersigned counsel, as follows:




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             WHEREAS, on May 22, 2019, Defendants filed their Motion for

Summary Judgment No. 1 Based Upon Plaintiffs’ Inability to Prove a Required

Element of their Claims; Motion for Summary Judgment No. 2 Based Upon

Plaintiffs’ Inability to Prove Damages; and Motion for Summary Judgment No. 3

Addressing Specific Counts and Plaintiffs (“MSJ No. 3”) (Dkt. No. 147).

             WHEREAS, on September 30, 2019, the Court issued its Order

Granting in Part and Denying in Part Defendants’ Motion for Summary Judgment

No. 1 and No. 2 (“MSJ Order”) (Dkt. No. 187). The MSJ Order granted summary

judgment in favor of Defendants on all of Plaintiffs’ claims remaining in the case,

except for Plaintiffs Kenneth Lake, Crystal Lake, Kyle Pahona, Ryan Wilson, and

Heather Wilson’s claims in Count XI alleging that construction dust, in general and

without regard to the dust’s content, constituted a nuisance (the “Non-Contaminant

Nuisance Claim”).

             WHEREAS, if granted, MSJ No. 3 would dispose of the Non-

Contaminant Nuisance Claim.

             WHEREAS, Plaintiffs have consulted with their counsel, and Harold

Bean and Melinda Bean have requested to dismiss all of their claims with prejudice

and forego any appellate rights. The remaining Plaintiffs are presently

contemplating their appellate rights and do not wish to dismiss the claims that were

denied by the MSJ Order.



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             WHEREAS, the parties would like this case to proceed as efficiently

as possible, and believe that dismissing the remaining Non-Contaminant Nuisance

Claim is in the best interests of the parties and will conserve judicial resources by,

among other things, avoiding a trial on that issue.

             IT IS HEREBY STIPULATED AND AGREED TO by Plaintiffs and

Defendants that, pending approval by the Court:

             1.     Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, any and all claims by Plaintiffs Harold Bean and Melinda Bean against

Defendants that are contained in Plaintiffs’ First Amended Complaint filed on

September 20, 2017, or that are otherwise at issue in this case, are dismissed with

prejudice. As between Plaintiffs Harold and Melinda Bean and Defendants, and

only as between Plaintiffs Harold and Melinda Bean and Defendants, the parties

shall bear their own attorneys’ fees and costs. The parties agree that this dismissal

of the Beans will not impact Defendants’ ability to recover their fees and costs

from the other remaining Plaintiffs.

             2.     Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, Plaintiffs Kenneth Lake, Crystal Lake, Kyle Pahona, Ryan Wilson, and

Heather Wilson’s Non-Contaminant Nuisance Claim is dismissed with prejudice.

Plaintiffs hereby relinquish any appellate rights in the Non-Contaminant Nuisance




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Claim (but not any appellate rights based on those portions of Count XI based on

alleged exposure to contaminants).

             3.     Defendants shall be permitted to file a motion for attorneys’

fees and costs (“Fees Motion”) following the Court’s approval of this stipulation

and pursuant to the requirements of LR 54.2. If Defendants file a Fees Motion, the

motion will be briefed by the parties and decided by the Court pursuant to the

Court’s regular motion-setting calendar, and the Fees Motion will not be delayed

by the resolution of any appeal filed by Plaintiffs. The parties agree that deciding

the Fees Motion before the resolution of the appeal will provide them the most

information about their respective positions. However, Defendants agree that they

will not attempt to enforce or execute upon any fee award until after the later of

(1) the expiration of the time for Plaintiffs to file a notice of appeal; or (2) a

decision by United States Court of Appeals for the Ninth Circuit on any appeal in

this case.

             4.     This stipulation moots the need for a hearing on MSJ No. 3, and

MSJ No. 3 is withdrawn without prejudice.

             5.     Following the approval of this stipulation, there are no claims

remaining in this case.

             6.     All appearing parties have signed this stipulation through their

counsel.



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            DATED: Honolulu, Hawaiʻi, October 17, 2019      .


                                 /s/ Randall C. Whattoff
                                 LISA WOODS MUNGER
                                 JOACHIM P. COX
                                 RANDALL C. WHATTOFF
                                 KAMALA S. HAAKE
                                 CHRISTINE A. TERADA
                                 Attorneys for Defendants
                                 OHANA MILITARY COMMUNITIES, LLC
                                 and FOREST CITY RESIDENTIAL
                                 MANAGEMENT, LLC

            DATED: Honolulu, Hawaiʻi, October 16, 2019      .


                                 /s/ P. Kyle Smith
                                 P. KYLE SMITH
                                 TERRANCE M. REVERE
                                 Attorneys for Plaintiffs

APPROVED AND SO ORDERED:




Kenneth Lake, et al. v. Ohana Military Communities, LLC, et al., Civil No. 16-
00555-LEK-KJM, STIPULATION FOR (1) DISMISSAL WITH PREJUDICE OF
ALL OF PLAINTIFFS HAROLD BEAN AND MELINDA BEAN’S CLAIMS IN
THE FIRST AMENDED COMPLAINT; AND (2) DISMISSAL WITH
PREJUDICE OF PLAINTIFFS KENNETH LAKE, CRYSTAL LAKE, KYLE
PAHONA, RYAN WILSON, AND HEATHER WILSON’S ELEVENTH CLAIM
FOR RELIEF (NUISANCE), TO THE EXTENT THE CLAIM IS BASED UPON
CONSTRUCTION DUST GENERALLY


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